                                     United States District Court
                                        District Of Maryland
     Chambers of                                                                  101 West Lombard Street
Ellen Lipton Hollander                                                            Baltimore, Maryland 21201
  District Court Judge                                                                  410-962-0742

                                                  August 11, 2023

       MEMORANDUM TO COUNSEL (via CM/ECF) AND DEFENDANT IGOR ROSENSTEEL
       (via U.S. Mail)

              Re:        United States of America v. Igor Rosensteel
                         Criminal No. ELH-19-0183
                         Criminal No. ELH-21-0169

       Dear Mr. Rosensteel and Counsel:

              On June 21, 2022, Mr. Rosensteel filed pro se motions for sentence reduction pursuant to
       18 U.S.C. § 3582(c)(1)(A)(i) in cases ELH-19-0183 (ECF 89) and ELH-21-0169 (ECF 27). The
       government responded to these motions on August 29, 2022. ECF 95; ECF 33.

              Upon beginning my review of the materials, I learned that Mr. Rosensteel was released
       from the Bureau of Prisons on March 30, 2023. See Find an inmate, FEDERAL BUREAU OF
       PRISONS, https://www.bop.gov/inmateloc/ (last accessed Aug. 11, 2023).

              Accordingly, by September 15, 2023, I ask the government to inform the Court as to the
       defendant’s current status. Additionally, I ask the defendant to advise me, by September 15,
       2023, whether he wishes to pursue his motions for compassionate release.

               If I do not hear from Mr. Rosensteel by September 15, 2023, I will assume that he does
       not wish to proceed with the motions. Mr. Rosensteel’s failure to respond would result in a
       denial of the motions, without prejudice.

               Despite the informal nature of this Memorandum, it is an Order of the Court. The Clerk
       shall docket it as such and mail a copy to Mr. Rosensteel.


                                                 Very truly yours,

                                                      /s/
                                                 Ellen Lipton Hollander
                                                 United States District Judge
